
644 S.E.2d 562 (2007)
STATE of North Carolina
v.
Rodney Keith WATTS.
No. 639P06.
Supreme Court of North Carolina.
March 8, 2007.
Don Willey, for Rodney Keith Watts.
Daniel Addison, Special Deputy Attorney General, Michael Bonfoey, District Attorney, for State.

ORDER
Upon consideration of the petition filed on the 27th day of December 2006 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
